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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


DAVID SLOAN et al.,                                   )
                                                      )
                       Plaintiffs,                    )
                                                      )
v.                                                    )       Case No: 08-CV-2571 JAR/DJW
                                                      )
BLAKE F. OVERTON et al.,                              )
                                                      )
                                                      )
                Defendants.                           )


                          MEMORANDUM IN SUPPORT OF
                  MOTION TO SUBSTITUTE MICHELLE M. SUTER,
           SPECIAL ADMINISTRATOR OF THE ESTATE OF BLAKE OVERTON
               AS PARTY TAKING THE PLACE OF BLAKE F. OVERTON
                   A/K/A BLAKE FLEMING OVERTON (DECEASED)


       COME NOW the Plaintiffs, David Sloan personally, and David Sloan as the personal

representative of the Estate of Christopher Sloan, and for their Memorandum in Support of

Motion to Substitute Michelle M. Suter, Special Administrator of the Estate of Blake F. Overton

as a Party Taking the Place of Blake F. Overton a/k/a Blake Fleming Overton, allege and state as

follows:

       1.       Rule 25 of the Rules of Civil Procedure allows for the substitution of a party when

another party dies. (Rule 25(a)).

       2.       The Plaintiffs were timely in both attempting and actually obtaining service on

Michelle M. Suter, the Special Administrator for the Estate of Blake F. Overton.

       3.       The purpose of Rules 17 and 25 are to ensure that the real parties in interest are

made aware of the litigation and to make sure that any litigation has the proper res judicata effect.
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       4.       That purpose will be accomplished if the Court allows this substitution as the real

party in interest, the Estate of Blake F. Overton, has already been served and has already

answered in this case.

       5.       No party will suffer any prejudice if the Court sustains this Motion to Substitute.

This Motion is being filed in an over abundance of caution, because the service has already been

obtained on the proper party, the proper party has already filed an Answer and has already

submitted to the jurisdiction of this honorable Court.

       WHEREFORE, the Plaintiffs move the Court for its Order substituting Michelle M.

Suter, Special Administrator for the Estate of Blake F. Overton, for Blake F. Overton (deceased)

as a Defendant in this case, and for such other and further relief as the Court deems just and

equitable in the premises.



                                                      THE BACKER LAW FIRM, LLC


                                                      By: /s/ Joseph M. Backer
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was electronically
filed with the United States District Court for the District of Kansas and served on the counsel
listed below this 1st day of October, 2009 via facsimile.

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                                                        /s/ Joseph M. Backer
                                                     Attorney for Plaintiffs




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